Case 2:05-cr-20149-.]PI\/| Document 25 Filed 07/21/05 Page 1 of 2 Page|D 31

IN THE UNITED sTATEs DIsTRICr coURT F“£D BY -'% °‘C'
FoR THE wEerRN DISTRICT oF TENNESSEE

 

WESTERN DIVISION 05 JUL 2| AH 10= 19
UIM. U.S\ ‘"WECT COlHT
UNITED sTATEs oF AMERICA, Wm U; .I il_§tMS
Plaintiff,
'VS' CR. NO.: 05-20149 MI
JERMAINE TEMPLE,
Defendant.

 

ORDER ON DEFENDANT, JERMAINE TEMPLE’S,
MOTION TO EXTEND TIME TO FILE MOTIONS
AND SPECIFICALLY PERIOD OF EXCLUDABLE DELAY

 

This cause came on to be heard before this Honorable Court. Counsel for the defendant,
Jermaine Temple, requested an extension of time in which to Hle pre-trial motions until August 26,
2005. The continuance is necessary to allow for additional preparation in this case due to the fact
that defense counsel and AUSA David Henry have not been able to meet to review and discuss the
discovery and the overall case in this matter.

The Court hereby grants defendant, lermaine Temple’s, request and all motions shall be filed
by A_ugust 26, 2005.

The period of time from the defendant's written request for an extension of time to file
pretrial motions until August 26, 2005 is excludable delay under 18 U.S.C. Sec. 3161 (h)(S)(A) and
18 U.S.C. Sec., 3161(h)(8)(B)(iV) to allow defense counsel additional time to prepare.

rr ls so 0RDERED this the £Qday ofJuly, 2005.

Qm‘(lllt

TED STATES DISTRICT COURT .TUDGE

    
 

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T'n‘\s document entered on the docket she'et m pomp 1

with Ru\e 55 andlor 32(1:)) FRCrP on

UNITED sTATE ISTRIC COURT - WTERN D's'TRCT OFTENNESSEE

    

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:05-CR-20149 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

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Honorable J on l\/lcCalla
US DISTRICT COURT

